430 F.2d 1328
    Jasper W. BOWDEN, Petitioner-Appellant,v.STATE OF FLORIDA, Respondent-Appellee.
    No. 29589 Summary Calendar.**Rule 18, 5th Cir., See Isbell Enterprises, Incv.Citizens Casualty Co. of New York, et al., 5th Cir., 1970,
    
      431 F.2d 409, Part I.
      United States Court of Appeals, Fifth Circuit.
      Aug. 18, 1970.
      Jasper W. Bowden, pro se.
      Earl Faircloth, Atty.Gen., Tallahassee, Fla., Harold Mendelow, Asst.Atty.Gen., Miami, Fla., for appellee.
      Before THORNBERRY, MORGAN and CLARK, Circuit Judges.
      PER CURIAM:
    
    
      1
      This appeal is from an order of the district court denying the petition of a Florida prisoner for a writ of habeas corpus.  We affirm.
    
    
      2
      In his petition to the court below, appellant contended that he was denied effective assistance of counsel during his trial proceedings, and that he waived his right to trial by jury upon a false promise, communicated to him by his attorney, that such a waiver would result in his being placed on probation.
    
    
      3
      The district court, after conducting a full evidentiary hearing on the merits of appellant's contention at which appellant was represented by court-appointed counsel, held that the appellant had failed to prove his allegations by a preponderance of the evidence.
    
    
      4
      This court has examined the transcript of appellant's trial, as well as the transcript of the habeas corpus evidentiary hearing in which the testimony of appellant's court-appointed trial attorney completely refuted appellant's allegations.  There is no error in the judgment below.  Curry v. Wainwright, 416 F.2d 379 (5th Cir. 1969).
    
    
      5
      Affirmed.
    
    